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Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                                )
    In re:                                                      )    Chapter 11
                                                                )
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                        )    Case No. 19-34054-sgj11
                                                                )
                                    Reorganized Debtor.         )
                                                                )
                                                                )
    In re: CHARITABLE DAF FUND, L.P., AND
                                                                )    Adv. Pro. No. 21-03067-sgj
    CLO HOLDCO LTD.,
                                                                )
                           Plaintiffs,
                                                                )
    vs.
                                                                )
                                                                )
    HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                )
    HIGHLAND HCF ADVISOR, LTD., AND
                                                                )
    HIGHLAND CLO FUNDING, LTD.,
                                                                )
                                    Defendants                  )

1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
service address for the Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.

WITNESS AND EXHIBIT LIST FOR HEARING ON JANUARY 25, 2023
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          REORGANIZED DEBTOR’S WITNESS AND EXHIBIT LIST WITH
      RESPECT TO EVIDENTIARY HEARING TO BE HELD ON JANUARY 25, 2023

         Highland Capital Management, L.P. (the “Debtor”) submits the following witness and

 exhibit list with respect to CLO Holdco, Ltd. and Charitable DAF Fund, LP’s Renewed Motion to

 Withdraw the Reference [Docket No. 128], which the Court has set for hearing at 1:30 p.m.

 (Central Time) on January 25, 2023 (the “Hearing”) in the above-styled adversary proceeding (the

 “Adversary Proceeding”).

         A.       Witnesses:

                  1.         Any witness identified by or called by any other party; and

                  2.         Any witness necessary for rebuttal.

         Exhibits:

Number                                       Exhibit                                Offered     Admitted

 1.           Transcript of November 23, 2021 hearing

              Securities and Exchange Commission, C.F.R. Parts 275,
 2.           Prohibition on Fraud by Advisers to Certain Pooled Investment
              Vehicles, Release No. IA-2628; File No. S7-25-06.
              Second Amended and Restated Investment Advisory Agreement,
              dated to be effective January 1, 2017, by and between Charitable
 3.
              DAF Fund, L.P., Charitable DAF GP, LLC, and Highland
              Capital Management, L.P.
              Securities and Exchange Commission, C.F.R. Parts 276,
 4.           Commission Interpretation Regarding Standard of Conduct for
              Investment Advisers, Release No. IA-5248; File No. S7-07-18.
              In re Acis Capital Management, L.P., et al., Case No. 18-30264-
 5.
              sgj11, D.I. 497 (Bankr. N.D. Tex. Aug. 13, 2018)
              In re Acis Capital Management, L.P., et al., Case No. 18-30264-
 6.
              sgj11, D.I. 549 (Bankr. N.D. Tex. Sept. 4, 2018)
              Transcript of August 3, 2022 Hearing, Adversary Proc. No. 22-
 7.
              03052-sgj (Bankr. N.D. Tex. August 3, 2022)



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 Dated: January 23, 2023                     PACHULSKI STANG ZIEHL & JONES LLP

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                                             -and-

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